Case 2:04-cr-20448-STA Document 100 Filed 08/01/05 Page 1 of 2 PagelD 96

 

 

 

 

 

 

 

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UN|TED STATES OF AMER|CA, Huu_'\ ;:: _[ jr_:llq d,;[l'\g[('SU lie
Plaintift,
VS.
CR. NO. 04-20448-05-B
LAV|TA lVl. HARVEY,
Defendant.
ORDEFi ON CONT|NUANCE AND SPECIFY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG
This cause came on tor a report date on Ju|y 25, 2005. At that time, counsel for the
defendant requested a continuance and a change of plea setting.
The Court granted the request and set change of plea date for Thursdav, August
18, 2005 at 10:15 a.m., in Courtroom 1, ‘ltth Floor of the Federal Bui|ding, Memphis, TN.
Tirne through August 12, 2005 Was previously excluded under 18 U.S.C. §
3161 (h)(B)(B)(iv) because the ends ot justice served in allowing for additional time to
prepare outweigh the need for a Speedy trial
lt is 30 oaDEnED this f _day or duly 2005.
J. D NlEl. BFtEEN
ED STATES DlSTR|CT JUDGE
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with Rule 55 and/Or 32{b) FHCFP 0" 6 l 0
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Honorable .1. Breen
US DISTRICT COURT

